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 5
    Attorneys for Plaintiff
 6 United States of America

 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:15-cr-00286-DAD-BAM
12                                Plaintiff,            STIPULATION REGARDING
                                                        CONTINUANCE; ORDER
13             v.
     ZAID ELODAT,
14
                                  Defendant.
15

16

17                                             STIPULATION

18

19          Plaintiff United States of America, by and through its counsel of record, and defendant, by

20 and through his counsel of record, hereby stipulate as follows:

21          1.     By previous order, this matter was set for sentencing on Tuesday, November 13,

22 2018, at 10:00 a.m.

23          2.     By this stipulation, the parties now move to continue the matter to April 29, 2019, at

24 10:00 a.m.

25          3.     The parties further stipulate to the following schedule:

26          Informal Objections Due:                                            April 1, 2019

27          Final PSR Filed with the Court:                                     April 8, 2019

28          Formal Objections to PSR/Sentencing Memo due:                       April 15, 2019
                                                 1
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 1        Responses to Formal Objections/Reply to Sentencing Memo:     April 22, 2019

 2        IT IS SO STIPULATED.

 3

 4 DATED:       August 16, 2018            Respectfully submitted,

 5

 6                                  McGREGOR W. SCOTT

 7                                  United States Attorney

 8                                  /s/ Karen A. Escobar

 9                                  KAREN A. ESCOBAR

10                                  Assistant United States Attorney

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12

13 DATED:       August 16, 2018

14

15                                  /s/ Edward Robinson

16                                  EDWARD ROBINSON

17                                  Counsel for Defendant

18                                  Zaid Elodat

19
20                                          ORDER

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22
     IT IS SO ORDERED.
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24     Dated:   August 17, 2018
                                                  UNITED STATES DISTRICT JUDGE
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